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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,
                                                      23 Civ. 05081 (PKC)
                        Plaintiff

                -against-

 INFINITY Q CAPITAL MANAGEMENT,
 LLC,

                        Defendant,

                -and-

 WILDCAT PARTNER HOLDINGS, LP,

                        Relief Defendant.


                        MONITOR’S QUARTERLY STATUS REPORT

       The Monitor and its counsel Walden Macht & Haran LLP (“Walden Macht”) respectfully

submit this quarterly report pursuant to paragraph 14 of the Court’s Consented to Order

Appointing Monitor dated July 11, 2023 (Dkt. No. 15) (the “Order”).

       1. In accordance with paragraph 7(a) of the Order, the Monitor has had multiple meetings

           and phone calls with Milbank LLP (counsel for the Defendant and Relief Defendant)

           to share his preliminary thoughts as to which methodology should be used to distribute

           the remaining proceeds in the Infinity Q Volatility Alpha Fund, L.P. and Infinity Q

           Volatility Alpha Offshore Fund (together, the “Private Funds”). The Monitor has also

           consulted with counsel for the Securities and Exchange Commission (“SEC”) and the

           economic consultant NERA Economic Consulting to share his preliminary thoughts.

           The Monitor is finalizing a letter that will be sent to Investors sharing these preliminary

           thoughts. This letter has been reviewed by Milbank LLP and the SEC.
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     2. To date, the Monitor has not had to assess (a) any proposed material corporate

        transactions by the Private Funds; (b) extensions of credit by the Private Funds; (c)

        material changes to compensation paid by Infinity Q or the Private Funds to any of

        their respective officers or directors; (d) any retention by the Private Funds of any

        management-level professional or person; or (e) any decision to prepare for, file, or

        caused to be filed, any bankruptcy or receivership petition for the Private Funds.



Dated: New York, New York                        Respectfully submitted,
       January 30, 2024


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